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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


                     3:22-cv-00817
Civil Action No. _________________________________

JENNIFER M. LUCAS,

       Plaintiff,

v.

TRUEACCORD CORP. and LVNV FUNDING LLC,

       Defendants.

_______________________________________/

                                    COMPLAINT
       NOW COMES Jennifer M. Lucas (“Plaintiff”), by and through the

undersigned attorneys, complaining of the Defendant, TRUEACCORD CORP. and

LVNV FUNDING LLC, (collectively, “Defendant”) as follows:

                               NATURE OF THE ACTION

       1.     Plaintiff brings this action seeking redress for Defendant’s violations of

the Fair Debt Collection Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692 and

the Florida Consumer Collection Practices Act (“FCCPA”), Fla. Stat. §559.55 et.

seq.




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                             JURISDICTION AND VENUE

      2.     Subject matter jurisdiction is conferred upon this Court by the FDCPA

and 28 U.S.C. §§1331 and 1337, as the action arises under the laws of the United

States.

      3.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff

resides in the Middle District of Florida, Defendant conducts business in the Middle

District of Florida, and a substantial portion of the events or omissions giving rise to

the claims occurred within the Middle District of Florida.

                                       PARTIES

      4.     Plaintiff is a consumer and natural person over 18-years-of-age who, at

all times relevant, resided in the Middle District of Florida.

      5.     TRUEACCORD CORP. (“TrueAccord”) is a corporation organized

under the laws of the state of Delaware.

      6.     TrueAccord maintains its principal place of business in Greenville,

South Carolina.

      7.     TrueAccord specializes in debt collection and collects debts on behalf

of others nationwide.

      8.     TrueAccord is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

because (1) the principal purpose of TrueAccord’s business is the collection of debt




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owed or due or asserted to be owed or due another; and (2) it regularly collects

consumer debt owed to others.

      9.     LVNV Funding LLC (“LVNV”) is a limited liability company

organized under the laws of Delaware.

      10.    LVNV is a nationally recognized debt buyer that purchases debts from

third parties for pennies on a dollar and then collects the debts for financial gain.

      11.    LVNV maintains its principal place of business in Las Vegas, Nevada.

      12.    LVNV is a “debt collector” as defined by 15 U.S.C. § 1692a(6) because

its principal business purpose is the collection of debt.

                       FACTS SUPPORTING CAUSE OF ACTION

      13.    Prior to the events giving rise to this action, Plaintiff applied and

obtained financing for a purchase she completed at Kay Jewelers (“subject debt”).

      14.    Unfortunately, Plaintiff fell into financial hardship leaving her unable

to sustain timely payments towards the subject debt.

      15.    Sometime in or around May 2022, Defendant began placing collection

calls to Plaintiff’s cellular telephone ending in 3645.

      16.    Specifically, Defendant would call Plaintiff’s cellular telephone no less

that twice a day on back to back days.

      17.    On or around June 2022, Plaintiff answered Defendant’s incoming call

and requested that all calls cease entirely.


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      18.    Sadly, Plaintiff’s requests fell on deaf ears as Defendant continued its

on slot of harassing telephone calls.

      19.    Moreover on July 1, 2022, Defendant began issuing text messages to

Plaintiff’s daughter in an attempt to collect the subject debt.

      20.    Specifically, Defendant’s text message stated: “This is TureAccord, a

debt collector. Your account has been placed with us. View your account summary:

https://sm.true.ac/25b3wca. Reply STOP to opt out of SMS.”

      21.    Initially, Plaintiff’s daughter opened the hyperlink attached to

Defendant’s text message and was directed to Defendant’s online portal, where she

found detailed information regarding the subject debt.

      22.    Plaintiff’s daughter was puzzled by Defendant’s text message after

discovering that the subject debt belonged to her mother and not herself.

      23.    Shortly thereafter, Plaintiff was notified by her daughter of Defendant’s

attempt to collect the subject debt via text message.

      24.    Plaintiff was frustrated that Defendant disclosed her confidential

information to her daughter without Plaintiff’s prior consent, especially since her

daughter had no legal obligation towards the subject debt.

      25.    Plaintiff never gave Defendant permission to contact her daughter

regarding the subject debt.




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      26.    Upon information and belief, Defendant unlawfully communicated

with an unauthorized third-party, solely for the purpose of streamlining its

generation of profits without regard to the propriety and privacy of the information

which it discloses to such third-party.

      27.    Upon discovering the actions made by Defendant, Plaintiff was

embarrassed and humiliated that personal and confidential information was

disclosed to third parties without her consent.

                                          DAMAGES

      28.    Defendant’s harassing and unfair collection conduct has severely

disrupted Plaintiff’s daily life and general well-being.

      29.    Defendant’s illegal collection activities have caused Plaintiff actual

harm, including but not limited to, invasion of privacy, nuisance, marriage turmoil,

embarrassment, harassment, humiliation, emotional distress, anxiety, and loss of

concentration.

      30.    Concerned about the violations of her rights and invasion of her

privacy, Plaintiff sought the assistance of counsel to permanently cease Defendant’s

collection efforts.

      COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                       (VIOLATION OF FDCPA §1692b)

      31.    Plaintiff is a “consumer” as defined by FDCPA §1692a(3).



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      32.      The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises

out of a transaction due or asserted to be owed or due to another for personal, family,

or household purposes.

      33.      Defendant is a “debt collector” as defined by §1692a(6) because it’s a

business, the principal purpose of which, is the collection of defaulted debts and uses

the mail and/or the telephones to collect delinquent accounts allegedly owed to a

third party.

      34.      Moreover, Defendant is a “debt collector” because it acquired rights to

the subject debt after it was in default. 15 U.S.C. §1692a(6).

      35.      Defendant used the phone to attempt to collect the subject debt and, as

such, engaged in “communications” as defined in FDCPA §1692a(2).

      36.      Defendant’s communications to Plaintiff’s daughter were made in

connection with the collection of the subject debt.

      37.      Defendant violated 15 U.S.C. §§1692b(2), c(b), d, e, and f through its

unlawful debt collection practices.

      38.      The FDCPA, pursuant to 15 U.S.C. §1692b(2), prohibits a debt

collector from contacting a third party and stating that a consumer owes any debt.

      39.      Defendant violated §1692b(2) when it called Plaintiff’s daughter and

disclosed confidential information about the subject debt.




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   COUNT II – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692c)

      40.    §1692c of the FDCPA states:

             (b)Communication with third parties
             Except as provided in section 1692b of this title, without the prior
             consent of the consumer given directly to the debt collector, or the
             express permission of a court of competent jurisdiction, or as
             reasonably necessary to effectuate a post judgment judicial
             remedy, a debt collector may not communicate, in connection
             with the collection of any debt, with any person other than
             the consumer, his attorney, a consumer reporting agency if
             otherwise permitted by law, the creditor, the attorney of
             the creditor, or the attorney of the debt collector.
      41.    Defendant violated §1692c(b) when it contacted Plaintiff’s daughter in

regards to the subject debt that was owed by Plaintiff.

      42.    Specifically, Defendant contacted third parties without Plaintiff’s

consent.

      43.    Pursuant to §1692c(a)(1) of the FDCPA, a debt collector is prohibited

from contacting a consumer “at any unusual time or place or a time or place known

or which should be known to be inconvenient to the consumer. . .” 15 U.S.C.

§1692c(a)(1).

      44.    Moreover, Defendant violated §1692c(a)(1) when it continuously

called Claimant after being notified to stop.

      45.    This repeated behavior of continuously and systematically calling

Claimant’s cellular phone after she demanded that Defendant’s call cease was

harassing and abusive.
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      46.    Even after being told to stop contacting her, Defendant continued its

onslaught of phone calls with the specific goal of oppressing and abusing Claimant

into paying the subject debt.

      47.    In other words, since Claimant had advised Defendant that she did not

wish to receive any calls, any time that Defendant contacted Claimant was an

inconvenient time for Claimant to receive calls.

   COUNT III – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                      (VIOLATION OF FDCPA §1692d)


      48.    The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector

from engaging “in any conduct the natural consequence of which is to harass,

oppress, or abuse any person in connection with the collection of a debt.”

      49.    Defendant violated §1692d when it sent a text message to Plaintiff’s

daughters cellular phone and disclosed a debt was being collected for Plaintiff’s

outstanding subject debt. Defendant was simply trying to humiliate and harass

Plaintiff into paying the subject debt immediately.

   COUNT IV – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692e)


      50.    Defendant violated §1692e by using false, deceptive, and misleading

representation in connection with the collection of the subject debt. It was deceptive

and misleading for Defendant to misleadingly request, by disclosing the subject debt,

that Plaintiff’s daughter to make a payment on Plaintiff’s behalf despite never
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consenting to being called nor being a signatory to any agreements with Defendant

or its predecessors.

   COUNT V – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                     (VIOLATION OF FDCPA §1692f)


      51.    Defendant violated §1692f and f(1) by using and unconscionable means

in attempting to collect on the subject debt.

      52.    Specifically, Defendant contacted a third party and disclosed private

and inaccurate information about Plaintiff’s debt. Defendant’s unconscionable

conduct was employed in order to humiliate Plaintiff so she would make an

immediate payment on the subject debt.

      53.    As an experienced debt collector, Defendant knew or should have

known the ramifications of collecting on a debt through incessant deceptive means.

WHEREFORE, Plaintiff JENNIFER M. LUCAS respectfully requests that this

Honorable Court:


   a. Declaring that the practices complained of herein are unlawful and violate the

      aforementioned bodies of law;

   b. Enjoining Defendant from further contacting Plaintiff’s daughter .

   c. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15

      U.S.C. §1692k(a)(2)(A);




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   d. Awarding Plaintiff actual damages, in an amount to be determined at trial, as

      provided under 15 U.S.C. §1692k(a)(1);

   e. Awarding Plaintiff costs and reasonable attorney fees as provided under 15

      U.S.C. §1692k(a)(3); and

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

        COUNT VI – VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION
                            PRACTICES ACT
      54.    At all times relevant to this Complaint, Plaintiff, was and is a natural

person, and is a “consumer” as that term is defined by Florida Statutes § 559.55(8).

      55.    At all times relevant to this action Defendant is subject to and must

abide by the laws of the State of Florida, including Florida Statute § 559.72.

      56.    At all times relevant to this Complaint, Defendant was and is a

“person” as said term is defined under Florida Statute §1.01(3) and is subject to the

provision of Fla. Stat. § 559.27 because said section applies to “any person” who

collects or attempts to collect a consumer debt as defined in Fla. Stat. §559.72

because said provision applies to “any person” who collects or attempts to collect a

consumer debt as defined in Fla. Stat. § 559.51(1).

      57.    At all times material hereto, the debt in question was a “consumer

debt” as said term is defined under Florida Statute § 559.55(6).

      58.    Defendant violated section 559.72(7) of the FCCPA through its

unlawful conduct.

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      a. Violations of the FCCPA § 559.72(7)

      59.     A person violates section 559.72(7) of the FCCPA when it willfully

communicates with the debtor with such frequency as can reasonably be expected to

harass the debtor, or willfully engage in other conduct, which can reasonably be

expected to abuse or harass the debtor.

      60.     Defendant violated section 559.72(7) of the FCCPA when it placed

harassing text messages to Plaintiff’ daughter and disclosed confidential information

regarding Plaintiff’s subject debt.

WHEREFORE, Plaintiff JENNIFER M. LUCAS respectfully requests that this

Honorable Court:

   a. Enter judgment in Plaintiff’s favor and against Defendant;
   b. Award Plaintiff actual damages in an amount to be determined at trial pursuant
      to the Florida Consumer Collection Practices Act, Fla. Stat. §559.77;
   c. Award Plaintiff statutory damages of $1,000.00 pursuant to the Florida
      Consumer Collection Practices Act, Fla. Stat. §559.77;
   d. Award Plaintiff and equitable relief, including enjoining Defendants from
      further violations, pursuant to Florida Consumer Collection Practices Act, Fla.
      Stat. §559.77(2);
   e. Award Plaintiff costs and reasonable attorneys’ fees pursuant to the Florida
      Consumer Collection Practices Act, Fla. Stat. §559.77; and
   f. Award any other relief this Honorable Court deems equitable and just.
                          DEMAND FOR JURY TRIAL

      Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.
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Dated: July 28, 2022                      Respectfully Submitted,

                                          /s/ Alexander J. Taylor
                                          Alexander J. Taylor, Esq.
                                          Counsel for Plaintiff
                                          Sulaiman Law Group, Ltd
                                          2500 S Highland Ave, Suite 200
                                          Lombard, IL 60148
                                          Telephone: (630) 575-8181
                                          ataylor@sulaimanlaw.com




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